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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                      Case No.: 1:19−cr−00567
                                                        Honorable Harry D. Leinenweber
Robert Sylvester Kelly, et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, October 21, 2021:


        MINUTE entry before the Honorable Harry D. Leinenweber: Video status hearing
held. Jury trial set for 8/1/22 at 10:00 a.m. for all defendants. Motions in limine to be filed
on or before 6/6/22. Responses to motions in limine to be filed on or before 7/5/22. The
Government to produce all Jencks Materials on or before 6/2/22. The Parties to meet and
confer regarding a juror questionnaire and submit a proposed questionnaire to chambers
two weeks prior to the next status hearing. Telephonic status hearing set for 5/25/22 at
10:00 a.m. In the interests of justice, time is excluded to 8/1/22 pursuant to 18 U.S.C. §
3161(h)(7)(A)(B). Mailed notice (maf)




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